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APR 08 2016

CLERK, 4 Dis lor COURT
EASTERN LIFORNIA

 

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

IN RE TACO BELL,
JUDGMENT IN A CIVIL ACTION

1:07-cv-01314-SAB

 

JURY VERDICT: This action came before the Court for a
trial by jury. The issues have been tried and the jury has rendered
its verdict.

IT IS HEREBY ORDERED AND ADJUDGED that JUDGMENT BE ENTERED
IN FAVOR OF PLAINTIFFS AND AGAINST DEFENDANTS FOR THE .UNDERPAID MEAL
PREMIUM CLASS. IT IS FURTHER ORDERED THAT JUDGMENT IS ENTERED IN FAVOR
OF DEFENDANTS AND AGAINST PLAINTIFFS FOR THE LATE MEAL PERIOD AND REST
PERIOD CLASSES.

IT IS HEREBY ORDERED AND ADJUDGED THAT DAMAGES IN THE
AMOUNT OF $495,913.66 AND PREJUDGMENT INTEREST IN THE AMOUNT OF
$291,987.70 ARE AWARDED TO THE UNDERPAID MEAL PREMIUM CLASS.

DATED:
MARIANNE MATHERLY, Clerk

By Aa

S)le Clerk
